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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION



  STATE OF OHIO, ex rel. DAVE YOST                Civil Action No. 2:23-CV-1450
  ATTORNEY GENERAL OF OHIO
                                                  Judge Michael H. Watson
  Plaintiff,                                      Magistrate Judge Chelsey M. Vascura

  v.

  ASCENT HEALTH SERVICES LLC;
  EXPRESS SCRIPTS, INC.; THE CIGNA
  GROUP; EVERNORTH HEALTH, INC.;
  PRIME THERAPEUTICS LLC; HUMANA
  PHARMACY SOLUTIONS, INC.;
  HUMANA INC.

  Defendants.



 PLAINTIFF STATE OF OHIO’S OPPOSITION TO DEFENDANTS ASCENT HEALTH
 SERVICES LLC, EXPRESS SCRIPTS, INC., THE CIGNA GROUP, AND EVERNORTH
    HEALTH, INC.’S MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM
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                                            Introduction


        The Attorney General brings this enforcement proceeding against Ascent Health Services

 LLC (“Ascent”), Express Scripts, Inc. (“Express Scripts”), The Cigna Group (“Cigna”), and

 Evernorth Health, Inc. (“Evernorth”) (collectively, “Defendants”) for violations of Ohio statutory

 and common law in the provision of pharmacy benefit manager services. Defendants have moved

 to dismiss the Complaint. The Motion to Dismiss (“Motion”), ECF No. 78 at PageID 2686, stands

 on the wrong law and ignores facts alleged in the Complaint.

        Relying on Sherman Act case law, Defendants argue that Counts I and III fail to state a

 claim. This is not a Sherman Act case, and it is not a private damages action. It is an enforcement

 proceeding by the State of Ohio, and Counts I and III state claims for violation of the Valentine

 Act and forfeiture under Section 1331.03 of the Act.

        Express Scripts argues that Count IV fails to state a claim under the Deceptive Trade

 Practices Act, but Count IV states a claim for false and deceptive representations violating the Act.

 Express Scripts argues that Count V should be dismissed for failure to state a claim for violation

 of Section 3959.20(C) of the Ohio Revised Code, prohibiting reimbursement clawbacks, but it

 ignores both the text of the statute and the facts alleged. Count V states a claim for violations of

 Section 3959.20(C).

        Defendants argue that Count VI fails to allege facts to support a claim for unjust

 enrichment, and they argue that Count VII fails to allege facts to establish a claim for civil

 conspiracy. The facts alleged and the applicable law support both claims, and the Motion must be

 denied as to Counts VI and VII.




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 I.     COUNT I STATES CLAIMS AGAINST EXPRESS SCRIPTS, CIGNA, AND EVERNORTH
        FOR VIOLATION OF THE VALENTINE ACT.

        Defendants marshal an array of arguments for dismissal of Count I. They contend that it

 is barred by Copperweld because Express Scripts, Cigna, and Evernorth are incapable of

 conspiring. They contend that a conspiracy has not been alleged sufficiently to satisfy Twombly.

 They object that facts have not been alleged to show an unreasonable restraint of trade. They

 contend that the Complaint fails to allege antitrust injury and that, in any event, Illinois Brick bars

 monetary relief. The arguments are all groundless, and we address them in order.

        A.      Express Scripts, Cigna, and Evernorth Are Legally Capable of
                Conspiring with One Another for Purposes of the Valentine Act, and
                Count I Alleges an Antitrust Conspiracy.

        Relying on Copperweld Corp. v. Independence Tube Corp., 467 U.S. 752 (1984),

 Defendants insist that Count I should be dismissed because “Express Scripts is a wholly-owned

 subsidiary of Evernorth, which is a wholly-owned subsidiary of Cigna.” Memorandum in Support

 of Motion to Dismiss (hereinafter, “Brief”) ECF No. 78 at PageID 2698. This is not what the

 Complaint alleges. It alleges that Express Scripts is a subsidiary of Evernorth, not a wholly-owned

 one.1 Complaint for Disgorgement, Injunctive Relief and Declaratory Judgment (“Complaint”),

 ECF No. 12 at PageID 1318, ¶ 42. Regardless of Defendants’ effort to rewrite the Complaint, the

 Copperweld holding has no relevance to this proceeding, because the Valentine Act applies to an

 intracorporate conspiracy. Even if it were assumed, for purposes of argument, that Copperweld

 were controlling, the result would be the same, because there is no allegation that Express Scripts

 is wholly-owned by either Cigna or Evernorth.




 1
  “Express Scripts is a subsidiary of Evernorth Health, Inc. . . ., which is a wholly-owned subsidiary
 of Cigna Group . . . .” Complaint, ECF No. 12 at PageID 1318, ¶ 42.


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 1.        The Valentine Act reaches an intracorporate conspiracy, and Count I states a claim
           against Express Scripts, Cigna, and Evernorth.

           The Valentine Act recognizes an intracorporate conspiracy, contrary to the Sherman Act.

 There is no need to resort to interpretations of the Sherman Act by the United States Supreme

 Court to determine what constitutes a conspiracy under the Valentine Act. The intracorporate

 conspiracy defense was rejected in State ex rel. Denman v. National Cash Register Co., 13 Ohio

 C.C. (n.s.) 73 (Cir. Ct. Franklin Cty. 1910). The appeals court in Franklin County there considered

 a motion by a corporation to strike from a petition charging it with a criminal violation of the Act

 “the averment that it has conspired with its officers, directors, stockholders and agents.” Id. at 77

 (italics added). The defendant contended that “a corporation cannot enter into a conspiracy with

 those officers and agents in charge of its affairs.” Id. The court held that a corporation and its

 officer or agent can be deemed separate parties to a conspiracy under the Act and “counted in

 computing the necessary number of two or more to constitute a conspiracy.” Id. It reasoned that

 “[a]ny other rule would make a conviction impossible in most of these cases, for it would only be

 necessary for the corporation to employ as its agent any of the individuals, firms, or other

 corporations to carry out the purposes and intention of the conspiracy. . . . Id. at 78 (emphasis

 added).

           The Summit County Court of Appeals offered a contrary view in dicta in Daily Monument

 Co. v. Crown Hill Cemetery Ass’n, 114 Ohio App. 143, 152 (9th Dist. 1961), stating that there was

 no combination under the Valentine Act between a nonprofit cemetery association and its officers.

 The statement was irrelevant, however, to the court’s holding that the plaintiff had no standing to

 sue the defendants in the first place, and there is no holding in conflict with National Cash Register

 Co. The plaintiff, a vendor of cemetery markers and memorials, sued the association and its

 officers to enjoin a regulation requiring cemetery lot owners to purchase memorials from the



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 association at fees set by the association. Relying on Chapter 1721 of the Ohio Revised Code,

 governing the conduct of nonprofit cemetery associations, the court held that the only persons with

 standing to sue over the fees were lot owners or those in privity of contract with them. Id. at 151.

 Because the plaintiff had no standing to sue, there was no need to consider its Valentine Act claim,

 and the court’s observation that there was no evidence in the record to support the claim was

 extraneous.

        The Ohio Supreme Court has never addressed the intracorporate conspiracy doctrine as

 applied to the Valentine Act, and National Cash Register is the only appellate holding on the

 subject. The decision is authoritative for a federal court interpreting an Ohio statute. See, e.g.,

 Holbrook v. Louisiana-Pacific Corp., 533 F. App’x 493, 497 (6th Cir. 2013) (holding that, in the

 absence of a ruling by the Ohio Supreme Court on whether consumers have standing to sue under

 the Deceptive Trade Practices Act, the federal court would treat a decision by a Court of Appeals

 on the issue as dispositive). This is not a diversity case, and there is no occasion to engage in

 predictions about what law Ohio courts would apply. A federal court, even under Erie Railroad

 Co. v. Tompkins, 304 U.S. 64 (1938), is obligated to follow the decision of an intermediate

 appellate court in the absence, as here, of a controlling decision by a state’s supreme court. See

 West v. American Tel. & Tel. Co., 311 U.S. 223, 237–38 (1940) (where the decision of a state

 intermediate appellate court is on point, “the federal court is not free to apply a different rule

 however desirable it may believe it to be, and even though it may think that the state Supreme

 Court may establish a different rule in some future litigation.”). Count I thus properly alleges a

 Valentine Act conspiracy among Express Scripts, Cigna, and Evernorth, regardless of whether

 Express Scripts is wholly-owned by Evernorth or Cigna.




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 2.     Copperweld does not determine whether Defendants have violated the Valentine Act.

        Defendants insist that Copperweld dooms Count I. They assert that a claim under the

 Valentine Act “must be construed in accordance with the Sherman Act” Brief ECF No. 78 at

 PageID 2698 (emphasis added), but the cases they cite contain no such statement. The Ohio

 Supreme Court has followed, in applying the Valentine Act, the federal courts’ interpretation of

 the Sherman Act (see, e.g., Johnson v. Microsoft Corp., 106 Ohio St. 3d 278, 281 (2005) (“Ohio

 has long followed federal law in interpreting the Valentine Act)), but there is no requirement in

 the statute that it do so. The Ohio Supreme Court has never held, contrary to Defendants’ assertion,

 that a court must apply Sherman Act case law in deciding a Valentine Act case.

        The Sherman Act does not determine what conduct the Valentine Act reaches, and

 Copperweld does not determine Count I. The Ohio General Assembly did not pattern the Valentine

 Act after the Sherman Act, and statements to the contrary in Ohio Supreme Court decisions all rely

 on erroneous dicta in List v. Burley Tobacco Growers’ Co-op. Ass’n, 114 Ohio St. 361 (1926).

 The Court stated in List that the Valentine Act was “generally conceded to have been patterned

 after the Sherman Anti-Trust Act,” citing no authority. Id. at 369. It stated, also in a dictum, that

 “it has been seriously urged that when the Valentine law was enacted in Ohio the Ohio Legislature

 adopted the judicial construction already placed upon the federal act by the federal courts, and that

 the interpretation is treated as incorporated therein,” also citing no authority. Id. at 370. Each

 statement is objectively false, as the absence of any authority signals. Subsequent decisions have,

 nonetheless, uncritically repeated and relied upon them. See, e.g., Johnson, 106 Ohio St.3d at 281

 (the Valentine Act was “‘patterned after the Sherman Antitrust Act, and as a consequence this

 court has interpreted the statutory language in light of federal judicial construction’ of the federal

 antitrust statutes” (quoting C.K. & J.K., Inc. v. Fairview Shopping Center Corp., 63 Ohio St.2d

 201, 204 (1980)).


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        Contrary to List, the Valentine Act was not patterned after the Sherman Act, and the

 General Assembly would have had no reason to treat federal court constructions of the Sherman

 Act as incorporated into the Valentine Act. Since the operative provisions of the Valentine Act

 were all derived from Texas’s 1889 antitrust statute, not the Sherman Act, the General Assembly

 emphatically did not follow the Sherman Act.

        The Valentine Act’s provision establishing liability for joint conduct in restraint of trade,

 Section 1331.01, differs dramatically from Section 1 of the Sherman Act (15 U.S.C. § 1).2 A



 2
  Section 1 of the Sherman Act provides that “[e]very contract, combination in the form of trust or
 otherwise, or conspiracy, in restraint of trade or commerce among the several States, or with
 foreign nations, is declared to be illegal.” (15 U.S.C. § 1.) As relevant here, Section 1331.01(C)
 of the Valentine Act provides as follows:
         (1) “Trust” is a combination of capital, skill, or acts by two or more persons for any
             of the following purposes:
         (a) To create or carry out restrictions in trade or commerce;
         (b) To limit or reduce the production, or increase or reduce the price of merchandise
             or a commodity;
         (c) To prevent competition in manufacturing, making, transportation, sale, or
             purchase of merchandise, produce, or a commodity;
         (d) To fix at a standard or figure, whereby its price to the public or consumer is in
             any manner controlled or established, an article or commodity of merchandise,
             produce, or commerce intended for sale, barter, use, or consumption in this
             state;
         (e) To make, enter into, execute, or carry out contracts, obligations, or agreements
             of any kind by which they bind or have bound themselves not to sell, dispose
             of, or transport an article or commodity, or an article of trade, use, merchandise,
             commerce, or consumption below a common standard figure or fixed value, or
             by which they agree in any manner to keep the price of such article, commodity,
             or transportation at a fixed or graduated figure, or by which they shall in any
             manner establish or settle the price of an article, commodity, or transportation
             between them or themselves and others, so as directly or indirectly to preclude
             a free and unrestricted competition among themselves, purchasers, or
             consumers in the sale or transportation of such article or commodity, or by
             which they agree to pool, combine, or directly or indirectly unite any interests
             which they may have connected with the sale or transportation of such article
             or commodity, that its price might in any manner be affected;


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 comparison of the Sherman Act,3 passed in 1890, with the Valentine Act,4 passed in 1898, shows

 that the General Assembly borrowed from the Sherman Act only its provision for a private right

 of action5 and its definition of “persons,”6 ignoring every other provision, including Section 1.

 The liability and other operative provisions of the Valentine Act were, in fact, all derived from the

 Texas antitrust statute, passed in 1889.7 A side-by-side comparison of the Valentine Act and the

 1889 Texas statute shows that the Valentine Act was borrowed, almost verbatim, from the Texas

 statute. See California ex rel. Van De Kamp v. Texaco, Inc., 46 Cal. 3d 1147, 1156 n.8 (1988) (“It

 is widely recognized that the 1889 Texas act served as the model for a number of state acts that

 followed it,” including Ohio.). Given that the Valentine Act draws none of its substantive content

 from the Sherman Act, the General Assembly could not conceivably have intended, contrary to

 List, that the Act would depend for its meaning upon federal court interpretations of the Sherman

 Act.

        The Ohio Supreme Court in List did get one matter right, however. It correctly observed

 that a comparison of the Sherman Act and the Valentine Act “shows that the Ohio law is in much



                                                 ***
        (4) A trust as defined in this division is unlawful and void.

 3
   Sherman Act, ch. 647, 26 Stat. 209 (1890). The original text is reproduced in Exhibit 1 to the
 accompanying Declaration of Thomas J. Collin.
 4
   Act of April 19, 1898, 93 v. 143. The original text is reproduced in Exhibit 2 to the accompanying
 Declaration of Thomas J. Collin.
 5
   Section 7 in the original version of the Sherman Act. It now appears as Section 4(a) of the
 Clayton Act (15 U.S.C. § 15(a)). Section 11 of the original version of the Valentine Act borrowed
 from Section 7 of the 1890 version of the Sherman Act. The private right of action now appears
 in Section 1331.08 of the Valentine Act.
 6
   Section 8 in the original version of the Sherman Act. Section 12 of the original version of the
 Valentine Act borrowed from Section 8 of the 1890 version of the Sherman Act. The definition
 now appears in Section 1331.01(A) of the Valentine Act.
 7
   Act of March 30, 1889, ch. 117, 1889 Tex. Gen. Laws 141. The original text of the 1889 statute
 is reproduced in Exhibit 3 to the accompanying Declaration of Thomas J. Collin.


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 broader and stronger terms than the federal enactment.” List, 114 Ohio St. at 369 (emphasis

 added). In interpreting the much broader and stronger Valentine Act, federal court decisions

 applying the Sherman Act should thus, contrary to the dicta in List, have “little or no precedential

 weight.” O’Brien v. Leegin Creative Leather Prods., Inc., 294 Kan. 318, 342 (2012) (holding that

 “federal precedents interpreting, construing, and applying federal statutes have little or no

 precedential weight when the task is interpretation and application of a clear and dissimilar Kansas

 [antitrust] statute”). In interpreting California’s Cartwright Act, which, in common with the

 Valentine Act, was derived from the Texas 1889 statute (see Texaco, Inc., 46 Cal.3d at 1160 n.14),

 the California Supreme Court stressed that Sherman Act case law is not probative: “[J]udicial

 interpretation of the Sherman Act, while often helpful, is not directly probative of the Cartwright

 drafters’ intent, given the different genesis of the provision under review.” Id. at 1164 (italics

 added). Similarly, the Valentine Act drafters’ intent cannot be divined from federal court

 interpretations of the Sherman Act, “given the different genesis” of the Valentine Act. The United

 States Supreme Court’s interpretation of the Sherman Act in Copperweld does not, thus, dictate

 whether Count I states a claim for conspiracy under the Valentine Act.

 3.     Even if Copperweld were followed, Express Scripts is an independent actor capable
        of conspiring with Cigna and Evernorth.

        The Complaint has no allegation that Express Scripts is a wholly-owned subsidiary of

 either Evernorth or Cigna, and the absence of any such allegation forecloses reliance on

 Copperweld. The Supreme Court held in Copperweld that a wholly-owned subsidiary and its

 parent corporation were a unitary actor for Sherman Act purposes.            Copperweld Corp. v.

 Independence Tube Corp., 467 U.S. 752, 777 (1984) (“We hold that Copperweld and its wholly

 owned subsidiary Regal are incapable of conspiring with each other for purposes of § 1 of the

 Sherman Act.”). The Court did not address whether a subsidiary that is not wholly-owned, like



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 Express Scripts, is incapable of conspiring with a corporation, like Cigna or Evernorth, that owns

 fewer than all of its outstanding shares of stock.

         Copperweld thus provides no shield for Express Scripts. Even if its holding were followed,

 Express Scripts is legally capable of conspiring with either Cigna or Evernorth, or both.

         B.      Twombly Has No Application to the Complaint, Because the Valentine
                 Act Specifies in Section 1331.09 What Constitutes an Adequate
                 Pleading in an Enforcement Action by the Attorney General.

         Defendants argue that the Complaint must be dismissed because it “does not meet the

 plausibility pleading requirement” in Twombly. Brief, ECF No. 78 at PageID 2700–01. According

 to Defendants, the Complaint “provides no facts that make it plausible to assume . . . that Cigna,

 Evernorth, and Express Scripts had some agreement among themselves to somehow ‘fix’ prices.”

 Id. at PageID 2701. Defendants have ignored the Valentine Act. Section 1331.09 of the Act

 specifies what an enforcement pleading must contain, and the Complaint satisfies Section 1331.09.

 Twombly does not override or supplant this statutory provision. Even if the Complaint were tested

 under Twombly, however, the allegations plausibly plead an unlawful conspiracy.

 1.      Section 1331.09 of the Valentine Act specifies what pleading is sufficient to state an
         enforcement proceeding claim, and the Complaint states a violation of the Act in
         conformity with Section 1331.09.

         Twombly can have no application where, as here, the statute under which the State of Ohio

 is suing itself specifies pleading requirements for an enforcement action. The United States

 Supreme Court considered in Twombly what was required under Rule 8(a)(2) of the Federal Rules

 of Civil Procedure to state a Sherman Act Section 1 conspiracy claim in a civil action. Rule 8(a)(2)

 requires that a pleading contain a “short and plain statement . . . showing that the pleader is entitled

 to relief,” and the Court held that a Section 1 plaintiff must plausibly allege a conspiracy to satisfy

 the requirement. Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555–56 (2007). In this Valentine




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 Act enforcement proceeding, Section 1331.09 of the Ohio Revised Code specifies what statement

 is needed to show that the Attorney General is entitled to relief:

            In an indictment for an offense . . . [under the Act], it is sufficient to state the
            purpose or effects of the trust or combination, and that the accused is a member
            thereof, or acted with or in pursuance of it or aided or assisted in carrying out its
            purposes, without giving its name or description, or how, when, and where it was
            created.

 Although Section 1331.09 refers to an indictment, it applies equally to a complaint in a civil matter.

 Goode v. Ohio Valley Druggists’ Ass’n, 16 Ohio Dec. 586, 587 (C.P. Ct. Hamilton Cty. 1906)

 (“What is here [Section 5 of the Valentine Act, now Section 1331.09] held sufficient for the

 purposes of a criminal prosecution, applies in all of its force to a civil action.”).

            Section 1331.09 spells out what the Attorney General must state to show entitlement to

 relief, as Rule 8(a)(2), Fed. R. Civ. P., requires. Pleading requirements applicable to claims under

 federal statutes, like the Sherman Act, cannot displace or supplant this Valentine Act directive. As

 shown immediately below in the discussion of Twombly (page 11 infra), the Complaint complies

 with the requirements of Section 1331.09: It states (1) the purpose or effects of the trust or

 combination and (2) that Express Scripts, Cigna, and Evernorth are members of it or acted with or

 in pursuance of it or aided or assisted in carrying out its purposes – exactly as Section 1331.09

 directs.

 2.         Even if Twombly were deemed to apply, the Complaint plausibly alleges a
            combination of capital, skill, or acts among Express Scripts, Evernorth, and Cigna
            for one or more unlawful purposes under Section 1331.01(C)(1).

            Even if it were assumed, for purposes of argument, that the Complaint were subject to

 Twombly pleading requirements, it more than adequately alleges a plausible conspiracy among

 Express Scripts, Cigna, and Evernorth in violation of the Valentine Act.

            The Complaint alleges that Cigna and Evernorth in their own capacities participate in

 Express Scripts’ business and operations. Complaint, ECF No. 12 at PageID 1324, ¶ 66. Evernorth


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 and its employees “are directly involved” in the sale of Express Scripts’ PBM services to plan

 sponsors. Id. Express Scripts, Cigna, and Evernorth have engaged in a combination to fix drug

 prices, id. at PageID 1355, ¶ 205, and for the purpose of carrying out restrictions in trade or

 commerce and of establishing the list price for drugs, id., ¶ 206. The Complaint alleges that their

 collaboration restrained trade in multiple ways:

             •   The collusive conduct of Express Scripts, Cigna, Evernorth, and other
                 defendants has denied Ohio consumers the benefits of free and unrestricted
                 competition by, among other means, forming and carrying out agreements
                 with manufacturers to fix prices for prescription drugs. Complaint, ECF
                 No. 12 at PageID 1351–52, ¶ 193.

             •   The collusive conduct of Express Scripts, Cigna, Evernorth, and other
                 defendants has denied Ohio plan sponsors the benefits of free and
                 unrestricted competition by, among other means, forming and carrying out
                 agreements with manufacturers to fix the prices of prescription drugs. Id.
                 at PageID 1352, ¶ 194.

             •   The collusive conduct of Express Scripts, Cigna, Evernorth, and other
                 defendants, in combination with the exercise of market power by Express
                 Scripts, has harmed competitive pharmaceutical markets in Ohio by
                 destroying transparency and eliminating information needed for efficient
                 operation and allocation of resources. Id. at PageID 1353, ¶ 198.

        The Complaint alleges active cooperation among Express Scripts, Cigna, and Evernorth to

 restrain trade, and Defendants’ argument that the Complaint does not even allege parallel conduct

 among them, Brief, ECF No. 78 at PageID 2701, is refuted by the text of the Complaint, much of

 which Defendants have conveniently overlooked.

        C.       Count I Alleges a Violation of the Valentine Act.

        Defendants state that this Valentine Act case is subject to evaluation under the rule of

 reason. Brief, ECF No. 78 at PageID 2701. They contend that the Complaint fails to state a claim

 under the Valentine Act, however, because it does not allege any relevant product or geographic

 market, id. at PageID 2702–03, and alleges no market power on the part of Defendants or




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 anticompetitive impact from Defendants’ conduct, id. at PageID 2704. Defendants have ignored

 the pleading standard in Section 1331.09 and have neglected to read the Complaint.

 1.     The Complaint adequately alleges a violation of the Valentine Act by conforming to
        the requirements of Section 1331.09.

        Transactions sought to be prohibited under the Valentine Act were those which were

 unlawful at common law. List v. Burley Tobacco Growers’ Co-op. Ass’n, 114 Ohio St. 361, 377

 (1926). The Act is “declaratory of the common law” and was passed to prevent the “abuses of

 combination and co-operation” which were unlawful under “settled principles of the common

 law.” Id. at 378. The proof here will show that Defendants have violated the Valentine Act, but

 the Act does not require detailed factual allegations in the Attorney General’s pleading initiating

 an enforcement proceeding like this one.

        To facilitate enforcement of the Act, the General Assembly spelled out, in what is now

 Section 1331.09, what the Attorney General must plead to state a claim of violation. As shown

 above (pages 9–10 supra), the Complaint meets the pleading requirements of Section 1331.09, and

 there is no need to detail the metes and bounds of markets or the impact of a defendant’s

 anticompetitive actions in the pleading initiating an enforcement proceeding by the Attorney

 General. The State of Ohio has, thus, adequately alleged a violation by Defendants of the

 Valentine Act, and the Court is not free to add requirements to the text of the statute or interpret it

 in a way that conflicts with its clear language. Where, as here, “the meaning of a statute is

 unambiguous and definite, it must be applied as written and no further interpretation is necessary.”

 State ex rel. Savarese v. Buckeye Local School Dist. Bd. of Educ., 74 Ohio St.3d 543, 545 (1996).

 2.     Even if the Court were to apply Sherman Act Section 1 standards for testing a rule
        of reason claim under the Valentine Act, the Complaint is sufficient.

        Even if Defendants’ argument were accepted that federal court interpretations of the

 Sherman Act determine whether a rule of reason violation is established under the Valentine Act,


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 the Complaint states a claim for violation of the Valentine Act. For a rule of reason case under

 Section 1 of the Sherman Act, a complaint is adequate if the plaintiff alleges

        “evidence of market structure” (i.e., market power and relevant markets . . .) and .
        . . “exclusionary effect” (i.e., foreclosure of a competitor from a market . . .) – “both
        of which can ordinarily be obtained without access to the defendant’s own records
        – [and] indicate that an antitrust violation is plausible.”

 Viamedia, Inc. v. Comcast Corp., 951 F.3d 429, 462 (7th Cir. 2020) (quoting Herbert Hovenkamp,

 The Rule of Reason, 70 Fla. L. Rev. 81, 90 (2018)). At the pleading stage, a plaintiff may satisfy

 “the unreasonable-restraint element by alleging that the conspiracy produced anticompetitive

 effects in the relevant markets.” W. Penn Allegheny Health Sys. v. UPMC, 627 F.3d 85, 100 (3rd

 Cir. 2010).

        The Sixth Circuit looks for the following allegations in determining whether a rule of

 reason case has been adequately stated:

        “(1) the defendants [agreed] or conspired among each other; (2) the [agreement] or
        conspiracy produced adverse, anticompetitive effects within relevant product and
        geographic markets; (3) the objects of conduct pursuant to that contract or
        conspiracy were illegal; and (4) the plaintiff was injured as a proximate result of
        the conspiracy.”

 Hobart-Mayfield, Inc. v. Nat’l Operating Comm. on Standards for Athletic Equip., 48 F.4th 656,

 664 (6th Cir. 2022) (quoting Total Benefits Planning Agency, Inc. v. Anthem Blue Cross & Blue

 Shield, 552 F.3d 430, 436 (6th Cir. 2008)). Under these pleading standards, the Complaint states a

 Section 1 rule of reason violation.

        The Complaint alleges relevant product and geographic markets. Defendants contend that

 the Complaint alleges neither a geographic market nor a product market: “[T]he Complaint does

 not allege any relevant market.” Brief, ECF No. 78 at PageID 2702 (emphasis in original). The

 statement suggests that Defendants may have confined their attention to reading headings and sub-




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 headings and ignored the text. The affected market is clearly staked out. It is the market in Ohio

 dominated by Express Scripts – the market for PBM services.

        The Complaint alleges that Express Scripts markets PBM services to Ohio health insurers

 and employers and, in doing so, has falsely represented that it will achieve prescription drug cost

 savings. Complaint, ECF No. 12 at PageID 1311, ¶ 13. It alleges that Express Scripts dominates

 over its rivals in the delivery of PBM services in nearly every metropolitan statistical area in Ohio,

 id. at PageID 1324, ¶ 71, pointing to a 60% market share in at least two MSAs and more than 40%

 in numerous others.      PBM services include rebate negotiation, retail pharmacy network

 management, and claims adjudication. Id. Express Scripts has used its market power to prevent

 competition for PBM services. Id. at PageID 1351, ¶ 192. For nearly 40% of Ohioans covered by

 commercial insurance, Express Scripts provides PBM services, controlling which drugs will be

 covered by insurance, what part of the price of the drugs will be covered, and how much

 pharmacies will be reimbursed for filling prescriptions for the drugs. Id. at PageID 1311, ¶ 12.

        The Complaint alleges anticompetitive effects and Express Scripts’ market power in the

 Ohio market for PBM services. Defendants contend that there is no allegation that they have

 market power and that they “are left guessing” as to anticompetitive effects. Brief, ECF No. 78 at

 PageID 2704. They should read the Complaint. It amply alleges both anticompetitive effects and

 market power.

        The Complaint alleges that Express Scripts, in combination with Cigna and Evernorth, has

 secured control over elements of the prescription drug distribution chain sufficient to give it the

 ability to artificially elevate prices to the consumer, constrict availability of drugs offered by

 manufacturers to pharmacies, and choke off reimbursements to pharmacies for drugs dispensed to

 consumers. This top-to-bottom control of the distribution chain by Express Scripts – as the largest




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 PBM in Ohio, Complaint, ECF No. 12 at PageID 1324, ¶ 71 – has produced damaging

 anticompetitive effects.

        •       By leveraging its control over formulary placement, Express Scripts has
                extracted higher rebates from manufacturers, Complaint, ECF No. 12 at
                PageID 1327, ¶ 84, thereby enabling it to increase the price of drugs to
                consumers and drive up the price charged to plan sponsors for PBM
                services, Complaint, ECF No. 12 at PageID 1328, ¶ 87.

        •       Less powerful PBMs have been foreclosed by Express Scripts from
                competing for the business of plan sponsors through Express Scripts’
                control over formulary placement, thereby restraining the market for PBM
                services. Id. at PageID 1327, ¶¶ 85–86.

        •       Express Scripts has exercised its market power to drive up the out-of-pocket
                prices of prescription drugs for Ohio consumers whose purchases are not
                covered by insurers or other third-party payors and for those whose co-pays
                are calculated based upon a percentage of list prices of the prescription
                drugs they purchase. Id. at PageID 1351, ¶ 192.

        The Complaint alleges that Express Scripts has exercised its power in the PBM services

 market to harm competition, not just in the market for PBM services, but also in the market for the

 retail sale of prescription drugs. With nearly 40% of the market for PBM services in Ohio, Express

 Scripts’ market power may be inferred. See, e.g, Toys “R” Us, Inc. v. FTC, 221 F.3d 928, 937 (7th

 Cir. 2000) (affirming FTC holding that toy retailer with 40% of the traditional toy market and 20%

 of the national wholesale market had market power). There is no need to infer market power,

 however, because the Complaint alleges that Express Scripts has used its market power to

 effectuate an array of anticompetitive abuses. It has used its market power:

        •       To insulate itself from competitive pressures and foreclose smaller PBMs
                from competing effectively. Complaint, ECF No. 12 at PageID 1327, ¶¶
                85–86.

        •       To force name-brand drug manufacturers to set higher list prices, in return
                for favorable placement of their products on Express Scripts’ formulary. Id.
                at PageID 1311, ¶ 14.




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        •       To maintain the opacity of its negotiations with manufacturers, thereby
                resulting in increased drug prices. Id. at PageID 1336, ¶126; 1353, ¶ 198.

        •       To refuse to negotiate with retail pharmacies over contract terms, id. at
                PageID 1343, ¶ 156, thereby blocking any possible negotiation over the
                financial terms that could have a beneficial effect for the consumer and
                effectively dictating price and terms to retail pharmacies for prescription
                drug sales, id. at PageID 1347, ¶ 173.

        •       To extract supracompetitive revenue from retail pharmacies by use of
                reimbursement clawbacks, id. at PageID 1344, ¶¶ 157–59, thereby diverting
                customers of independent pharmacies to Express Scripts’ mail order
                business, causing the failure of some pharmacies, and contributing to
                creation of “pharmacy deserts” in some Ohio communities, id. at PageID
                1346, ¶¶ 170–71; 1353, ¶ 199.

        •       To restrain and prevent competition in the market for PBM services and in
                the market for the retail sale of prescription drugs, causing higher out-of-
                pocket prices for drugs. Id. at PageID 1351, ¶ 192.

 Thus, even if federal court case law were applied in determining whether a rule of reason claim

 had been adequately pled under the Valentine Act, the Complaint alleges just such a violation by

 the Defendants.

 3.     The antitrust injury defense has no application to this enforcement proceeding by
        the Attorney General.

        Defendants argue that the Complaint must be dismissed because the Attorney General has

 not alleged facts to show that their conduct has caused antitrust injury, relying on Brunswick Corp.

 v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477 (1977). Brief, ECF No. 78 at PageID 2704–06. The

 antitrust injury doctrine has no application to this proceeding. The Attorney General is not

 bringing an action for damages as a result of injury to persons or property. The Supreme Court in

 Brunswick required a private plaintiff suing for treble damages under Section 4 of the Clayton Act

 (15 U.S.C. § 15) to prove that its injury flows from conduct that is unlawful under the antitrust

 laws, Brunswick, 429 U.S. at 489, but this is not a Brunswick case.




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        Unlike Brunswick, this is not a damage action brought under the federal antitrust laws, and

 it is not a damage action under the Valentine Act. It is an action for equitable and injunctive relief

 and forfeiture, Complaint, ECF No. 12 at PageID 1308, ¶ 1, and the Attorney General has statutory

 authority to bring it. There is no requirement, unlike that for a plaintiff in a private treble damages

 action, that the Attorney General must first demonstrate injury to specific persons or property.

 Section 1331.03 of the Valentine Act authorizes forfeiture upon proof of a violation of the Act,

 without any requirement that the Attorney General demonstrate injury to persons or property. See,

 e.g., Needles v. Bishop & Babcock Co., 14 Ohio Dec. 445, 448 (C.P. Ct. Franklin Cty. 1904)

 (holding that, for a petition to state a cause of action for violation of the Valentine Act, “it is not

 necessary that evil intent or actual injury to the public be shown”). Section 109.81(A) of the Ohio

 Revised Code authorizes the Attorney General to bring an action for equitable relief, similarly,

 without any requirement of proof of injury to persons or property.

 4.     The Illinois Brick doctrine is irrelevant to this enforcement proceeding by the
        Attorney General.

        Defendants contend that the Attorney General cannot recover damages, including “for

 disgorgement and restitution,” on behalf of consumers for “overinflated drug prices paid by those

 consumers.” Brief, ECF No. 78 at PageID 2706. They argue that Illinois Brick and Johnson v.

 Microsoft Corp. bar recovery of damages sustained by indirect purchasers. Defendants are missing

 the mark.

        This is not a parens patriae action to recover damages, and there are no allegations in the

 Complaint to suggest that it is. This enforcement proceeding seeks purely equitable relief, and the

 indirect purchaser doctrine has no application. See, e.g., United States Gypsum Co. v. Indiana Gas

 Co., 350 F.3d 623, 627 (7th Cir. 2003) (holding that Illinois Brick does not bar an indirect

 purchaser from seeking injunctive relief under Section 16 of the Clayton Act (15 U.S.C. § 26));



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 Pecover v. Electronics Arts Inc., 633 F. Supp. 2d 976, 979–80 (N.D. Cal. 2009) (holding that

 Illinois Brick “only bars antitrust claims for damages by indirect purchasers” and not a claim for

 injunctive relief). Contrary to Defendants’ claim, there is no prayer for restitution. While

 restitution might be deemed a form of damages recovery, as it seeks to deliver monetary relief to

 consumers to compensate them for losses flowing from a defendant’s wrongful conduct, no such

 relief is sought in this proceeding. The Attorney General seeks disgorgement, not restitution, and

 disgorgement is an equitable remedy. Section 109.81(A) of the Ohio Revised Code has been

 expressly held to permit the Attorney General to seek disgorgement under the Valentine Act. See

 State ex rel. Dann v. American Int’l Group, Inc., 2008 Ohio Misc. LEXIS 320, at *10–11 (C. P.

 Ct. Cuyahoga Cty. July 30, 2008). Disgorgement seeks to secure forfeiture of revenue unlawfully

 gained by a defendant, not compensation to the defendant’s victims.

 II.    COUNT III STATES CLAIMS AGAINST DEFENDANTS FOR VIOLATION OF THE
        VALENTINE ACT.

        Defendants object to Count III on many of the same grounds advanced for dismissal of

 Count I. They contend that a conspiracy has not been alleged sufficiently to satisfy Twombly, and

 they contend that facts have not been alleged to show an unreasonable restraint of trade. They

 urge that Copperweld bars any claim of conspiracy between Express Scripts and Ascent, and they

 repeat their no-antitrust-injury and Illinois Brick objections. In common with the objections to

 Count I, these are all meritless.

        A.      Twombly Has No Application to this Enforcement Proceeding, and
                Count III Alleges an Illegal Conspiracy under the Valentine Act.

        Defendants contend that Count III should be dismissed because the Complaint does not

 allege evidence “from which the Court could draw a plausible inference of a price-fixing

 conspiracy.” Brief, ECF No. 78 at PageD 2709. Relying on Twombly, Defendants argue that the




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 Complaint fails even to allege parallel conduct, much less evidence that would permit inference of

 a conspiracy. Id. at PageID 2710–12.

        Section 1331.09 of the Valentine Act specifies what pleading is sufficient to state a claim,

 and the Complaint states a violation of the Act in conformity with Section 1331.09. (Page 10

 supra.) Twombly has no application where the antitrust statute upon which the State is suing itself

 specifies pleading requirements for an enforcement action. (Id.)

        Even if it were assumed that Twombly could apply, however, the Complaint plausibly

 alleges a combination of capital, skill, or acts among Express Scripts, Prime Therapeutics, Humana

 Pharmacy Solutions, Humana, and Ascent for one or more unlawful purposes under Section

 1331.01(C)(1) of the Valentine Act:

        •       The Complaint alleges that Express Scripts and Prime Therapeutics use
                Ascent “as a vehicle to share pricing,” Complaint, ECF No. 12 at PageID
                1309, ¶ 7, and that Express Scripts, Prime Therapeutics, and Humana
                Pharmacy Solutions share drug pricing and rebate information through
                Ascent and thereby “fix rebate prices” among themselves, id.

        •       Express Scripts, Prime Therapeutics, and Ascent customers have exploited
                Ascent as a “vehicle” to aggregate and access each other’s pricing, discount,
                rebate, and negotiations information, id. at PageID 1315, ¶ 28, and they
                have thereby been able “to act in concert to harmonize their Manufacturer
                negotiations and demands,” eliminating competition between themselves
                and ensuring continued profits from “supracompetitive drug prices,” id. at
                PageID 1315, ¶ 29.

        •       By agreeing with Express Scripts to acquire an ownership interest in Ascent,
                Prime Therapeutics was able to “harmonize its prices and terms with those
                of its rival Express Scripts” with respect to both manufacturers and retail
                pharmacies. Id. at PageID 1350, ¶ 189. Joint ownership of Ascent by
                Express Scripts and Prime Therapeutics “has allowed these two rivals . . .
                to ‘align’ their prices and terms with ease, eliminating competition between
                them.” Id. at PageID 1351, ¶ 191.

        •       Express Scripts, Prime Therapeutics, Ascent, Humana Pharmacy Solutions,
                and Humana have engaged in a combination of capital, skill, or acts to create
                or carry out restrictions in trade or commerce “to fix, harmonize, and raise
                prices of numerous drugs. Id. at PageID 1358, ¶ 227.


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        Contrary to Defendants’ contentions, these are neither allegations of benign parallel

 conduct nor empty boilerplate. They explicitly spell out Defendants’ joint conduct in violation of

 the Valentine Act. They satisfy Twombly and far exceed what is required to plead a Valentine Act

 claim under Section 1331.09.

        B.      Count III Alleges a Combination among Defendants and a Per Se
                Illegal Conspiracy between Express Scripts and Prime Therapeutics in
                Violation of the Valentine Act.

        Defendants challenge Count III on the same grounds as Count I. They repeat objections to

 the sufficiency of the allegations of a rule of reason violation in Count I. They contend that Count

 III fails because there is no allegation of a relevant market and no allegations of anticompetitive

 effects or market power. Brief, ECF No. 78 at PageID 2713. They also contend that a group

 purchasing organization such as Ascent is not “likely to result in predominantly anticompetitive

 effects.” Id. at PageID 2714 (quoting Northwest Wholesale Stationers v. Pacific Stationery &

 Printing Co., 472 U.S. 284, 295 (1985)).

        With respect to Defendants’ relevant market, anticompetitive effects, and market power

 objections, they are all addressed in the response to Count I (pages 13–16 supra), and that

 discussion will not be repeated here. The Complaint adequately alleges a rule of reason violation

 under the Valentine Act by Express Scripts and Ascent, even if Sherman Act case law were

 followed.

        Defendants contend that the fact that they participate in a group purchasing organization,

 Ascent, “fails to show – or plausibly allege – any anticompetitive effect.” Brief, ECF No. 78 at

 PageID 2713–14. They cite cases for the proposition that group purchasing organizations can be

 procompetitive. They have studiously omitted any cases on the misuse of purchasing cooperatives




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 to exchange information among competitors, and the authorities they cite have no bearing on the

 allegations in Count III.

         In fact, the conspiracy allegations detailed above (pages 19–20 supra) considerably exceed

 those needed to establish a violation of the Valentine Act under the rule of reason. They show a

 price-fixing conspiracy between direct competitors – Express Scripts and Prime Therapeutics –

 and they demonstrate how membership in a purchasing cooperative can be used by competitors to

 carry out conduct that is per se illegal:

         Competitor collaborations may provide an opportunity for participants to discuss
         and agree on anticompetitive terms, or otherwise to collude anticompetitively, as
         well as a greater ability to detect and punish deviations that would undermine the
         collusion. Certain marketing, production, and buying collaborations, for example,
         may provide opportunities for their participants to collude on price, output,
         customers, territories, or other competitively sensitive variables.

 UNITED STATES DEP’T OF JUSTICE AND FEDERAL TRADE COMM’N, ANTITRUST GUIDELINES FOR

 COLLABORATIONS AMONG COMPETITORS § 3.31(b) (2000) (emphasis added).

         The Complaint alleges precisely the kind of anticompetitive abuse identified by the

 enforcement agencies in the GUIDELINES – use of a buying cooperative (Ascent) as a device by

 which participants (Express Scripts and Prime Therapeutics) can collude on price. Using Ascent

 as their joint agent in negotiating prices with manufacturers, Complaint, ECF No. 12 at PageID

 1315, ¶¶ 28–29, Express Scripts and Prime Therapeutics function as a buying cartel able to depress

 and stabilize prices paid to suppliers. Agreement among competing buyers on prices to be paid to

 suppliers is per se illegal under Section 1 of the Sherman Act. E.g., Mandeville Island Farms, Inc.

 American Crystal Sugar Co., 334 U.S. 219, 235 (1948) (“It is clear that the agreement [among

 refiners to pay uniform prices to suppliers of sugar beets] is the sort of combination condemned

 by the Act, even though the price-fixing was by purchasers, and the persons specially injured under




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 the treble damage claim are sellers, not customers or consumers.” (footnotes omitted)). The result

 would be no different under Section 1331.01(C)(1)(a) and (b) of the Valentine Act.

        C.      The Antitrust Injury Defense Has No Application to this Enforcement
                Proceeding by the Attorney General.

        Defendants contend that Count III should be dismissed because the Complaint does not

 allege antitrust injury. Brief, ECF No. 78 at PageID 2716. The same argument is advanced as a

 basis for dismissal of Count I, and the response to the argument (pages 16–17 supra) applies

 equally here. It is groundless.

        D.      Copperweld Has No Application to a Claim under the Valentine Act,
                and Express Scripts and Ascent Are Capable of Conspiring.

        Defendants assert that Express Scripts is incapable of conspiring with Ascent “due to

 common ownership.” Brief, ECF No. 78 at PageID 2715. Since, they assert, “Cigna is the ultimate

 corporate parent” of both Express Scripts and Ascent, Copperweld bars any claim that Express

 Scripts and Ascent conspired. Id. Defendants mistake the law and misstate the Complaint.

        First, Copperweld has no application to a claim under the Valentine Act, as detailed above

 (pages 3–8 supra) in the discussion of Defendants’ arguments in support of dismissal of Count I.

        Second, Ascent is not wholly owned by Cigna. There is no such allegation in the

 Complaint, and Defendants’ statement to the contrary, Brief, ECF No. 78 at PageID 2715, is

 invention. The Complaint alleges that Express Scripts invited Prime Therapeutics in 2019 “into

 Ascent’s ownership,” Complaint, ECF No. 12 at PageID 1309, ¶ 7, and that Prime Therapeutics

 “joined Ascent’s ownership” on or about December 19, 2019, id. at PageID 1348, ¶ 177.

 Thereafter, Ascent was under “their ownership and control.” Id. at PageID 1349, ¶ 186. This is

 joint ownership, not sole ownership by Cigna. Even if Copperweld were deemed to apply to Count

 III, it would not, thus, bar a claim of conspiracy against Express Scripts and Ascent, because

 Ascent is not wholly-owned by Cigna. It is owned in part by Prime Therapeutics, and Copperweld


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 reaches only conspiracy claims against a wholly-owned subsidiary and its parent corporation (page

 8–9 supra).

        E.      The Illinois Brick Doctrine Is Irrelevant to this Enforcement
                Proceeding by the Attorney General.

        Defendants repeat the argument made in response to Count I that the Attorney General

 cannot, because of Illinois Brick, seek monetary relief for Count III. Brief, ECF No. 78 at PageID

 2716. For the reasons discussed above (pages 17–18 supra) detailing why the argument is

 groundless as directed at Count I, it is equally groundless as directed at Count III.

 III.   COUNT IV STATES A CLAIM AGAINST EXPRESS SCRIPTS FOR VIOLATIONS OF THE
        OHIO DECEPTIVE TRADE PRACTICES ACT.

        Express Scripts objects to Count IV, stating violations of the Deceptive Trade Practices

 Act (“DTPA”), on multiple theories. It contends that the Attorney General lacks standing to bring

 an action under the DTPA, because Ohio Plan Sponsors are not “consumers” and that he cannot

 sue on their behalf. It contends that, insofar as this is a parens patriae action, it cannot be

 maintained on behalf of anyone less than Ohio residents generally. And it contends that, on the

 merits, Count IV fails to state a claim for violation of the DTPA. The objections are groundless,

 and the Motion should be dismissed as to Count IV.

        A.      The Attorney General Has Standing to Bring a DTPA Action against
                Express Scripts on behalf of Ohio Plan Sponsors.

        Express Scripts argues that the Attorney General lacks standing to bring an action against

 it on behalf of Ohio Plan Sponsors because they are consumers. Consumers have no standing to

 sue under the DTPA, and, Express Scripts reasons, the Attorney General has no ability to sue under

 the statute on their behalf. Brief, ECF No. 78 at PageID 2718.

        Express Scripts’ entire argument under Count IV stands on the erroneous and explained

 premise that Ohio Plan Sponsors are “consumers” for purposes of the DTPA. There is nothing in



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 the Brief to indicate where this premise comes from, and the conclusion is unavoidable that it is

 simply a convenient hypothesis.         The Complaint identifies Plan Sponsors, however, as

 “commercial health insurers” and “employers who offer prescription drug benefit plans to their

 employees.” Complaint, ECF No. 12 at PageID 1320, ¶ 49. Ohio Plan Sponsors are decidedly not

 consumers for purposes of the DTPA. There is no definition of “consumer” in the DTPA, but the

 Consumer Sales Practices Act defines a consumer as a person who engages in a “consumer

 transaction” with a supplier (Ohio Rev. Code § 1345.01(D)), and a “consumer transaction” is a

 sale or lease of goods or services “to an individual for purposes that are primarily personal, family,

 or household” (Ohio Rev. Code § 1345.01(A)).

        The purpose of the DTPA is “‘to protect the interests of a purely commercial class against

 unscrupulous commercial conduct.’” Michelson v. Volkswagen Aktiengesellschaft, 99 N.E.3d 475,

 479 (Ohio Ct. App. 8th Dist. 2018) (quoting Dawson v. Blockbuster, Inc., 2006-Ohio-1240, ¶ 24

 (Ct. App. 8th Dist. 2006)). And, as alleged in the Complaint, the interaction of an Ohio Plan

 Sponsor with Express Scripts is precisely such “a purely commercial endeavor, and not a consumer

 transaction.” Torrance v. Rom, 157 N.E.3d 172, 189 (Ohio Ct. App. 8th Dist. 2020). As

 participants in commercial endeavors, Ohio Plan Sponsors have standing to sue Express Scripts

 under the DTPA. See id. (“Given the commercial nature of his endeavor, Torrance has standing

 to pursue a claim under the ODTPA based on allegations that the appellees’ deceptive trade

 practices influenced his initial decision to personally invest” in certain properties.)

        B.      The Attorney General Can Bring a Parens Patriae Action against
                Express Scripts for Violation of the DTPA.

        Express Scripts argues that the State of Ohio, through the Attorney General, cannot sue to

 enforce the rights of Ohio Plan Sponsors under the DTPA as parens patriae. Brief, ECF No. 78

 at PageID 2719–21. It contends that a parens patriae action can be maintained only for the benefit



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 of Ohio residents generally and not for the benefit of a specific group, such as Ohio Plan Sponsors.

 Id. at PageID 2719–20. Since the State has no “quasi-sovereign interest” in enforcing the DTPA

 as to this group, Express Scripts insists that Count IV must be dismissed. Id. at PageID 2721. It

 misstates the law.

        The State of Ohio has standing to sue Express Scripts, because the DTPA gives it standing.

 Express Scripts has ignored the text of the DTPA, which gives to a “person” who is likely to be

 damaged by the commission of a deceptive trade practice the right to bring a civil action against

 the actor for injunctive relief. Ohio Rev. Code § 4165.03(A)(1). The statute defines a “person” to

 include “an individual, corporation, government, governmental subdivision…or any other legal or

 commercial entity.” Ohio Rev. Code § 4165.01(D) (emphasis added). The Complaint alleges that

 Express Scripts’ wrongful and deceptive acts have resulted in harm to the State’s general economy

 and, unless enjoined, will likely continue to result in harm to the economy. Complaint, ECF No.

 12 at PageID 1360, ¶¶ 246, 247. As a person likely to be harmed by Express Scripts’ wrongful

 and deceptive conduct in violation of the DTPA, the State of Ohio, through the Attorney General,

 thus has explicit standing to sue Express Scripts.

        Entirely separate from the right to sue under the DTPA, the State has standing to bring an

 action against Express Scripts under its parens patriae authority. Relying heavily upon a single

 federal district court decision analyzing whether to remand a case to state court (Ohio v. GMAC

 Mortgage LLC, 760 F. Supp. 2d 741 (N.D. Ohio 2011)), Express Scripts misunderstands parens

 patriae authority and misleads the Court about it.

        Citing Alfred L. Snapp & Son, Inc. v. Puerto Rico, 458 U.S. 592 (1982), Express Scripts

 contends that Ohio must have, in order to bring a parens patriae action, a “quasi-sovereign

 interest” separate from that of a private party and that it must show that “the relief sought would




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 benefit Ohio residents generally.” Brief, ECF No. 78 at PageID 2719. It is correct that a quasi-

 sovereign interest must be shown, but there is no requirement that the relief must benefit Ohio

 residents generally or that “there must be an injury to more than an identifiable group of individual

 residents.” Id. at PageID 2720, quoting Ohio v. GMAC Mortgage LLC, 760 F.Supp.2d 741, 749

 (N.D. Ohio 2011). The proper inquiry, instead, is whether the defendant’s conduct has injured a

 substantial segment of the population of the State. Count IV alleges both (1) a quasi-sovereign

 interest of the State in protecting its citizens from Express Scripts’ violation of the DTPA and (2)

 that Express Scripts’ conduct has harmed a substantial segment of the population.

        Quasi-sovereign interest. Express Scripts asserts that the Attorney General has failed to

 show any quasi-sovereign interest, because this action will only bring “‘some secondary benefits

 to the Ohio economy’ from relief that ‘will primarily…benefit specific Ohio [citizens].’” Brief,

 ECF No. 78 at PageID 2721, quoting GMAC Mortgage LLC, 760 F.Supp.2d at 751. Express

 Scripts has every incentive to trivialize the impact of its false and deceptive representations on the

 economy and citizens of Ohio, but doing so does not change the fact that Ohio has a quasi-

 sovereign interest in enforcement of the DTPA. Every state “has a quasi-sovereign interest in the

 health and well-being – both physical and economic – of its residents in general.” Alfred L. Snapp

 & Son, Inc. v. Puerto Rico, 458 U.S. 592, 607 (1982). Inherent in the concept of quasi-sovereign

 interest is “protection of the public interest,” and one of the most basic of such interests is

 “protection of . . . citizens from fraudulent and deceptive practices.” Kelley v. Carr, 442 F. Supp.

 346, 357 (W.D. Mich. 1977), aff’d in part & rev’d in part on other grounds, 691 F.2d 800 (6th Cir.

 1980). Securing an “honest marketplace” – something which is threatened by Express Scripts’

 false and deceptive actions – is a well-established quasi-sovereign interest. Illinois v. SDS West




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 Corp., 640 F. Supp. 2d 1047, 1050 (C.D. Ill. 2009); State of New York by Abrams v. Gen. Motors

 Corp., 547 F. Supp. 703, 705–06 (S.D.N.Y. 1982).

        Injury to a substantial segment of the population. Contrary to Express Scripts’ contention,

 there is no requirement that a parens patriae action benefit Ohio residents generally. The inquiry

 is whether the State “has alleged injury to a sufficiently substantial segment of its population.”

 Alfred L. Snapp & Son, Inc., 458 U.S. at 607. This has been referred to as a “numerosity

 requirement” (Ohio AG v. Suwinski, 509 B.R. 568, 574 (S.D. Ohio 2013)), and it has been satisfied

 when the number of Ohio consumers benefiting from a parens patriae action totaled 92. Id. The

 United States Supreme Court in Alfred L. Snapp & Son held that substantiality was satisfied when

 .03% of Puerto Rico’s population was affected by the challenged conduct. Alfred L. Snapp & Son,

 458 U.S. at 599, 607. A court must consider both the direct and indirect effects of harm when

 determining if a substantial segment of the population has been injured, and the indirect benefits

 of barring violations of the DTPA by Express Scripts accrue to the population of Ohio at large.

 See District of Columbia v. JTH Tax LLC, 2023 U.S. Dist. LEXIS 3016, at *13 (D.D.C. Jan. 9,

 2023) (holding that even though conduct directly affected only .2% of the population of the District

 of Columbia, its indirect effects impacted “a broader portion of the state’s population and the

 general welfare of the public . . ., [and a]llowing Defendant to continue deceiving District residents

 would undermine the integrity of D.C. law, weaken the marketplace, and enable other residents to

 be harmed in the future.”) Here, the Complaint alleges that Express Scripts has made false and

 deceptive representations to Ohio Plan Sponsors as well as Covered Patients themselves.

 Complaint, ECF No. 12 at PageID 1340, ¶ 142. Since Express Scripts provides PBM services for

 nearly 40% of Ohioans covered by commercial insurance, id. at PageID 1311, ¶ 12, there can be

 no question that its false and deceptive statements affected a substantial segment of the population.




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        C.      The Complaint Alleges a Violation of the DTPA by Express Scripts.

        Express Scripts contends that the allegations of false and deceptive representations sound

 in fraud and are, thus, subject to the heightened pleading standard of Rule 9(b), Fed. R. Civ. P.

 Brief, ECF No. 78 at PageID 2722. It asserts that the Complaint fails to allege fraud with

 particularity. Alternatively, Express Scripts argues that the allegations are not even sufficient

 under Rule 8, Fed, R. Civ. P. (Id.) It objects that the Complaint does not identify any statements

 made by Express Scripts to Ohio Plan Sponsors and that it is therefore unable to evaluate whether

 the statements were false or actually misled Ohio Plan Sponsors. Brief, ECF No. 78 at PageID

 2722–23. The objections are groundless.

 1.     Allegations of a violation of the DTPA do not sound in fraud and are not subject to
        heightened pleading requirements.

        A claim under the DTPA does not sound in fraud, and Count IV adequately alleges a

 violation by Express Scripts. A DTPA claim is subject to the notice pleading requirements of Rule

 8(A)(1) of the Ohio Rules of Civil Procedure. See Torrance v. Rom, 157 N.E.3d 172, 188 (Ohio

 Ct. App. 8th Dist. 2020) (applying Rule 8(A), Ohio R. Civ. P., to evaluate sufficiency of allegations

 of violation of DTPA). A well-pled complaint must include “factual allegations going to each

 element of the claim,” id., and the Complaint amply meets this requirement. Ohio courts analyze

 claims under the DTPA based on federal court interpretations of Section 43(a) of the Lanham Act

 (15 U.S.C. § 1125(a)), e.g., Bold Home Prods., LLC v. CarbonKlean, LLC, 2023 U.S. Dist. LEXIS

 5975, at *25 (S.D. Ohio Jan. 11, 2023) (“Ohio courts analyze ODTPA claims like claims based on

 Section 43(a) of the Lanham Act . . .”), and there is no need to allege fraud in order to state a claim

 for violation of Section 43(a). See, e.g., Parkway Baking Co. v. Freihofer Baking Co., 255 F.2d

 641, 648 (3d Cir. 1958) (holding that, under § 43(a), “there is no requirement that the falsification

 occur wilfully and with intent to deceive” (footnote omitted)); Ames Publishing Co. v. Walker-



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 Davis Publishing Co., 372 F. Supp. 1, 24 (E.D. Pa. 1974) (“[T]here is no need to show that any

 false description or representation is wilful or intentional.”).     Contrary to Express Scripts’

 contention, a claim under the DTPA does not require the heightened pleading necessary for a fraud

 claim.

 2.       Count IV identifies false and deceptive statements of Express Scripts.

          Express Scripts argues that the Attorney General “has not actually identified any

 statements, deceptive or otherwise, that Express Scripts made to Ohio Plan Sponsors,” Brief, ECF

 No. 78 at PageID 2722 (italics in original), and, in the absence of any such identification, Express

 Scripts insists that it is impossible to evaluate whether statements are false or have a tendency to

 deceive. Express Scripts has apparently not read the Complaint. Here is what the Complaint

 alleges as to specific false and deceptive statements made by Express Scripts:

          Express Scripts has made statements to Ohio Plan Sponsors and the public about its ability

 to place the most cost-effective drugs on its Formularies for the benefit of Plan Sponsors and their

 employees, and the statements are patently false, as Express Scripts knowingly omits any mention

 of its coercion of List Price hikes by Manufacturers and its frequent denial of Formulary placement

 to the most cost-effective drugs. Complaint, ECF No. 12 at PageID 1339, ¶ 138. The statements

 include the following:

      •   On its website, it promotes its services to Ohio Plan Sponsors as an effective tool
          to help them find the best possible combination of lower costs and healthy outcomes
          for their employees, stating “From ensuring quality care while managing cost, to
          keeping up with emerging therapies and technology, we’re here for you.”
          Complaint, ECF No. 12 at PageID 1339, ¶ 139.

      •   On its website, it states that its Formulary development processes have been
          constructed “to ensure that clinical considerations are paramount and fully taken
          into account before cost considerations.” Id. at PageID 1339, ¶ 139 (emphasis in
          original).




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       •   Express Scripts issued a statement in 2021 to Managed Healthcare Executive
           claiming that clinical appropriateness of a drug, not its cost, “is our foremost
           consideration.” Id. at PageID 1340, ¶ 141.

       •   Concealing its elevation of dollars over drug quality and efficacy, Express Scripts
           stated in a document distributed in 2022 to members of an Ohio public employee
           retirement plan that it chose drugs on the Formulary in consultation with a team of
           healthcare providers and that the drugs represent “the prescription therapies
           believed to be a necessary part of a quality treatment program.” Id. at PageID 1340,
           ¶ 142.

 IV.       COUNT V STATES A CLAIM AGAINST EXPRESS SCRIPTS FOR VIOLATION OF
           O.R.C. 3959.20(C).

           Express Scripts seeks dismissal of Count V, which alleges that its use of after-the-fact

 clawbacks to curtail reimbursements to pharmacies violates Section 3959.20(C) of the Ohio

 Revised Code. It does so based on arguments divorced from allegations in the Complaint and a

 misreading of the statute. The Motion should be denied as to Count V.

           A.     The Complaint Alleges Facts Stating a Violation of Section 3959.20(C)
                  by Express Scripts.

           Express Scripts objects to Count V because, as to Section 3959.20(C)(1), it is not alleged

 whether any of the retroactive adjustments were the result of an audit or technical billing error.

 Brief, ECF No. 78 at PageID 2734. According to Express Scripts, such an adjustment would not

 violate the statute. Express Scripts also objects that the Complaint does not identify any pharmacy

 affected or any particular claim that was adjusted. It argues that the Complaint fails to satisfy

 Twombly, because the allegations are merely a “formulaic recitation.” Id. at PageID 2725.

           As to Section 3959.20(C)(2), Express Scripts argues that Count V fails to state a claim,

 because it does not allege how an adjustment to an adjudicated claim can become a fee prohibited

 by the statute. Id.

           Section 3959.20(C)(1).    The statute prohibits retroactive adjustment of a claim for

 reimbursement unless it is the result of either an audit (§ 3959.20(C)(1)(a)) or a technical billing



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 error (§ 3959.20(C)(1)(b)). Express Scripts argues that Count V fails to state a claim because the

 Complaint does not explicitly plead that clawbacks were not the result of an audit or billing error.

 The Complaint alleges that the clawbacks violated Section 3959.20(C)(1), Complaint, ECF No. 12

 at PageID 1346, ¶ 169, and this allegation eliminates any possibility that the clawbacks fell within

 either exception to the statute. There is no implication that they were simply benign ex post facto

 corrections.

        With respect to Express Scripts’ objection that no specific pharmacy or claim is alleged to

 have been affected by a clawback, the absence of any such allegation does not make the factual

 allegations a “formulaic recitation.” The Complaint alleges that Express Scripts exacts post-

 adjudication clawbacks both as to specific claims, id. at PageID 1344, ¶ 160, and on a lump-sum

 basis, id. at PageID 1344–45, ¶ 162. It alleges that Express Scripts has regularly and frequently

 done so in its dealings with Retail Pharmacies in its network, id. at PageID 1344, ¶ 159, and it

 describes how it collects the clawback, either by requiring payment or by reducing its next payment

 to the Retail Pharmacy, id. at PageID 1344, ¶ 139.

        Section 3959.20(C)(2). The Complaint alleges that a clawback is a “fee” prohibited by

 Section 3959.20(C)(2). It is unlawful because the amount of the fee cannot be determined at the

 time of claim adjudication. Complaint, ECF No. 12 at PageID 1344–46, ¶¶ 161, 163, 167, 169.

 There is no allegation that clawbacks are the result of either an audit or a technical billing error,

 and the Complaint is perfectly clear that the clawbacks are both retroactive adjustments of

 reimbursement claims, id. at PageID 1345, ¶ 165, and fees related to a claim, the amount of which

 cannot be determined at the time of claim adjudication.

        Express Scripts objects that the Complaint does not explain how a claim adjustment can

 become a “fee” under the statute, Brief, ECF No. 78 at PageID 2725, but the objection assumes




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 that post-claim adjudication adjustments are lawful in the usual case. The opposite is true. Post-

 claim adjudication adjustments are always unlawful unless they result from an audit or technical

 billing error.

         B.       The Attorney General Has Adequately Demanded Injunctive Relief.

         Express Scripts contends that the claim in Count V for injunctive relief should be denied

 because the Complaint does not allege facts to support entry of a permanent injunction. Id. It

 argues that the Complaint fails to allege that the State has suffered irreparable injury, that monetary

 damages are inadequate, that the equities favor entry of an injunction, and that the public interest

 would not be disserved by a permanent injunction. Id., citing eBay Inc. v. MercExchange, L.L.C.,

 547 U.S. 388, 391 (2006).

         The argument is groundless. At the pleading stage, as here, there is no requirement that a

 complaint set out facts to support a claim for injunctive relief. Rule 8(a)(3), Fed. R. Civ. P.,

 requires only that a complaint contain “a demand for the relief sought.” The Complaint requests

 a permanent injunction, Complaint, ECF No. 12 at PageID 1361, ¶ 252, and this is sufficient. See,

 e.g., Velez v. Cuyahoga Metro. Housing Auth., 2014 U.S. Dist. LEXIS 27480, at *17 (N.D. Ohio

 March 3, 2014) (holding that, at the motion to dismiss stage, a “[c]ourt is not required to rule on

 the merits of the injunctive relief demand”); see also Alexander v. Terry Law Firm, P.C. 401(k)

 Profit Sharing Plan, 2016 U.S. Dist. LEXIS 153868, at *20 (E.D. Tenn. Nov. 7, 2016) (“The

 courts in this circuit, however, look to Federal Rule of Civil Procedure 8(a)(3) to determine

 whether a request for an injunction is sufficient at the pleading stage, not to Rule 8(a)(2).”).

 V.      COUNT VI STATES A CLAIM FOR UNJUST ENRICHMENT.

         Defendants urge that Count VI, claiming unjust enrichment, be dismissed because the

 Complaint does not allege (1) any benefit conferred by Ohio consumers upon Defendants, Brief,

 ECF No. 78 at PageID 2726, (2) knowledge by Defendants of the purported benefit, or (3) that


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 they retained any benefit, id. at PageID 2727. Defendants are wrong on all three grounds, which

 we address in order.

        Defendants contend that the State of Ohio has premised this claim on the rights of

 consumers who did not directly purchase prescription drugs from any Defendant, and they argue

 that indirect purchasers lack standing to assert an unjust enrichment claim. Brief, ECF No. 78 at

 PageID 2726–27.        Since there was no economic transaction between Ohio consumers and

 Defendants, the claim fails, they reason. There is no need, however, for a direct buyer-seller

 relationship where the economic link between the consumer and a third party is obvious. See, e.g.,

 Ohio Edison Co. v. Direct Energy Bus., LLC, 2017 U.S. Dist. LEXIS 117025 at *7–8 (N.D. Ohio

 2017); Randleman v. Fid. Nat’l Title Ins. Co., 465 F. Supp. 2d 812, 823–825 (N.D. Ohio 2006)

 (finding a sufficient transactional nexus for an unjust enrichment claim between plaintiff

 homebuyers and a title insurer with whom they had had no direct dealings); Paikai v. General

 Motors Corp., 2009 U.S. Dist LEXIS 8538 (E.D. Calif. 2009) (allowing an Ohio car purchaser to

 bring an unjust enrichment claim against car manufacturer for wrongfully retaining funds the car

 purchaser had paid to the car dealer for warranty coverage). Here, Defendants control or otherwise

 affect pricing on a vast array of prescription drugs distributed to Ohio consumers, and it is exactly

 Defendants’ intimate entanglement in the supply of drugs to consumers that makes this unjust

 enrichment claim meritorious.

        In any event, this is not an indirect purchaser action to recover damages. Unjust enrichment

 is an equitable claim, see, e.g., Hummel v. Hummel, 133 Ohio St. 520, 525 (1938), and the State

 of Ohio brings this claim in its capacity as parens patriae. The action is brought to remedy the

 fundamental inequity of a defendant retaining a valuable benefit to which it is not entitled, not to

 compensate consumers.




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        Defendants contend there is no allegation that they are aware of the benefit conferred upon

 them by Ohio consumers, Brief, ECF No. 78 at PageID 2727, but the Complaint amply alleges that

 the Defendants, especially Express Scripts, are directly involved in pricing and distribution of

 prescription drugs to Ohio consumers. Express Scripts controls which drugs will be covered by

 insurance, what portion of the price of the drugs will be covered, and how much pharmacies will

 be reimbursed for filling prescriptions for the drugs. Complaint, ECF No. 12 at PageID 1311, ¶

 12; 1320, ¶ 49; 1324, ¶ 71. Since Express Scripts “sits in a powerful and lucrative position at the

 center of the prescription drug distribution system,” id. at PageID 1311, ¶ 12, it borders on the

 fatuous to argue that the Complaint alleges no awareness by Defendants of the benefits they receive

 from Ohio consumers.

        Equally groundless are Defendants’ contention that the Complaint lacks any allegation that

 they retained any of the benefits conferred by Ohio consumers. Brief, ECF No. 78 at PageID 2727.

 There is no suggestion that they are engaged in a not-for-profit enterprise for improvement of the

 general welfare. The Complaint alleges, instead, that they have enriched themselves at the expense

 of Ohio consumers. It further alleges that they have leveraged their control over formulary

 placement to force higher rebates from manufacturers, Complaint, ECF No. 12 at PageID 1327, ¶

 84, thereby enabling them to increase the price of drugs to consumers and drive up the prices

 charged to plan sponsors for PBM services, id. at PageID 1328, ¶ 87. It alleges that they have

 exercised their market power to drive up the price of prescription drugs to Ohio consumers, id. at

 PageID 1351, ¶ 192, and that the Defendants have been unjustly enriched at the expense of Ohio

 consumers, id. at PageID 1362, ¶ 256.

 VI.    COUNT VII STATES A CLAIM FOR CIVIL CONSPIRACY.

        Defendants argue that Count VII fails to state a claim for civil conspiracy and must be

 dismissed. They contend that there is no allegation of (1) a combination to commit an unlawful


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 act, (2) an unlawful act independent of the conspiracy, or (3) actual injury. Brief, ECF No. 78 at

 PageID 2728–29. In support, they advance groundless arguments already addressed earlier in this

 Opposition to the Motion.

        Defendants contend that no malicious combination has been alleged, asserting that “mere

 membership” in an organization or process will not suffice. Id. at PageID 2728. According to

 Defendants, allegations that Express Scripts is an owner of, or a participant in, Ascent do not

 establish any such combination, and allegations as to Cigna and Evernorth do not connect them to

 any conspiracy to injure consumers. Id. As shown above, however, Express Scripts and Ascent

 conspired with Prime Therapeutics to fix drug prices (pages 20–22 supra), and Cigna and

 Evernorth conspired with Express Scripts (pages 10–11 supra) to fix drug prices. Defendants’

 claims to the contrary will not write these allegations out of the Complaint.

        Defendants purport to find no allegation of any unlawful independent act, but they overlook

 price fixing. Defendants are correct that joint conduct is, alone, not actionable, Brief, ECF No. 78

 at PageID 2728, but the Complaint alleges more than innocuous collaboration in furtherance of

 some salutary public good. It alleges a price-fixing conspiracy among Express Scripts, Cigna, and

 Evernorth in Count I and a price-fixing conspiracy among Express Scripts, Prime Therapeutics,

 Ascent, Humana, and Humana Pharmacy Solutions in Count III – all to drive up the price of

 prescription drugs to the detriment of Ohio consumers. The unlawful act is violation of the

 Valentine Act.

        With respect to actual injury, Defendants insist that none is alleged. Since the Complaint

 alleges only that they conspired with the “purpose and effect of injuring” Ohio consumers of

 prescription drugs, they reason that there is no cognizable actual injury. Brief, ECF No. 78 at

 PageID 2729. If Defendants are claiming that injury caused Ohio consumers by a price-fixing




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 cartel is beyond the reach of Ohio law, the claim is absurd. If the claim is that, because of the

 antitrust injury doctrine, the Attorney General has no authority to sue Defendants for injury to the

 public, it is groundless. As already shown above (page 16–17 supra), the antitrust injury doctrine

 has no application to this proceeding, and there is, in any event, no need to allege specific intent

 or actual injury to the public to state a claim for violation of the Valentine Act. See, e.g., Needles

 v. Bishop & Babcock Co., 14 Ohio Dec. 445, 448 (C.P. Ct. Franklin Cty. 1904) (holding that, for

 a petition to state a cause of action for violation of the Valentine Act, “it is not necessary that evil

 intent or actual injury to the public be shown”).

 VII.    CIGNA AND EVERNORTH SHOULD NOT BE DISMISSED FROM THIS ACTION.

         In the concluding section of the Brief, Cigna and Evernorth argue that the Complaint does

 not adequately link them to the conspiracies alleged and that, under Twombly, they should be

 dismissed as Defendants. Brief, ECF No. 78 at PageID 2729–30. This is an abbreviated rehash

 of arguments made earlier in the Brief, and there is no need to repeat here why they are groundless.

 As shown above (pages 10–11 supra), the Complaint alleges their active involvement in the price-

 fixing conspiracy alleged in Count I, and Count I states a claim against them for violation of the

 Valentine Act.

 VIII. CONCLUSION.

         The Complaint states claims against Express Scripts, Cigna, Evernorth, and Ascent for

 anticompetitive, deceptive, and otherwise unlawful conduct, both in combination and, for Express

 Scripts, individually, that has harmed the citizens and economy of the State of Ohio. Their actions

 violate Ohio statutory and common law, and the Motion must be dismissed in its entirety.



 Dated: November 3, 2023




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                                Respectfully submitted,

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                                   CERTIFICATE OF SERVICE


         I hereby certify that on November 3, 2023, a copy of the foregoing was filed

  electronically. Notice of this filing will be sent to counsel of record by operation of the Court’s

  electronic filing system. Notice of this filing will be sent to all other parties not represented by

  counsel via regular U.S. Mail.

                                                   /s/ Jennifer L. Pratt
                                                 Jennifer L. Pratt
                                                 Counsel for Plaintiff the State of Ohio




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